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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                       UNITED STATES DISTRICT COURT                              December 13, 2023
                        SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                            HOUSTON DIVISION



WILMINGTON SAVINGS FUND                     §
SOCIETY, FSB,                               §
                                            §
        Plaintiff,                          §
                                            §
VS.                                         §   CIVIL ACTION NO. 4:22-CV-00088
                                            §
LEEROY M. MYERS, et al.,                    §
                                            §
        Defendants.                         §

  ORDER ON DEFENDANTS’ MOTION TO ALTER OR AMEND JUDGMENT

       Pending before the Court is Defendants’ Motion to Alter or Amend Judgment

(ECF No. 45). It is well-settled that “a motion to alter or amend the judgment under Rule

59(e) ‘must clearly establish either a manifest error of law or fact or must present newly

discovered evidence’ and ‘cannot be used to raise arguments which could, and should,

have been made before the judgment issued.’” Rosenzweig v. Azurix Corp., 332 F.3d 854,

864 (5th Cir. 2003) (quoting Simon v. United States, 891 F.2d 1154, 1159 (5th Cir.

1990)). Upon reviewing the record and the parties’ briefing in this case, the Court has

found no manifest errors of law or new evidence that could justify granting Defendants’

motion. Accordingly, the motion is DENIED.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 13th day of December, 2023.



                                     ____________________________________
                                     KEITH P. ELLISON
                                     UNITED STATES DISTRICT JUDGE
